     Case 3:22-cv-01056-BEN-KSC Document 170 Filed 04/17/23 PageID.4229 Page 1 of 2



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 8                            UNITED STATES DISTRICT COURT
 9                           SOUTHERN DISTRICT OF CALIFORNIA
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11     BORREGO COMMUNITY HEAL TH                          Case No.: 22-cv-01056-BEN-KSC
       FOUNDATION, a California Nonprofit
12
       Public Benefit Corporation,                        ORDER:
13
                                         Plaintiff,       (1) GRANTING JOINT MOTION
14
                                                          FOR EXTENSION OF TIME TO
15     V.                                                 RESPOND TO FIRST AMENDED
                                                          COMPLAINT;
16
       KAREN HEBETS, an individual; et al.,
17                                                        (2) SETTING CONSOLIDATED
                                      Defendants.         BRIEFING SCHEDULE
18
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20
                                                          [ECF No. 168 & 169]
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22
            On April 14, 2023, Plaintiff Borrego Community Health Foundation ("Plaintiff')
23
      and all Defendants filed a Joint Motion for Extension of Time for Defendant to Respond
24
      to Plaintiffs First Amended Complaint (the "Joint Motion"). ECF No. 168.
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      Additionally, parties requested a consolidated briefing schedule for any Motions to
26
      Dismiss that may be subsequently filed. Parties filed a corrected version of this the Joint
27
      Motion the same day. ECF No. 169.
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,;,        .. Case 3:22-cv-01056-BEN-KSC   Document 170 Filed 04/17/23 PageID.4230 Page 2 of 2



       1           Good cause appearing, the Court GRANTS the Joint Motion and sets the
       2     following briefing schedule regarding responsive pleadings to the First Amended
       3     Complaint:
       4           1. All Defendants shall file their Answer or responsive pleadings on or before
       5              May 9, 2023.
       6           2. Plaintiff shall file, no later than June 6, 2023, one consolidated brief in response
       7              to all timely filed motions to dismiss. To account for the anticipated number of
       8              motions to which Plaintiff must respond, the Court will allow the consolidated
       9              response to be up to thirty-five (35) pages in length.
      10           3. Replies in support of any motion to dismiss must be filed no later than June 23,
      11              2023.
      12           4. The Court shall set a single, consolidated hearing date for all Defendants'
      13              Motions to Dismiss, which shall be Monday, July 3, 2023 at 10:30 a.m.
      14
      15           This order supersedes prior orders relating to extensions of time to file a response
      16     to the First Amended Complaint (ECF Nos.163, 167).
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      18           IT IS SO ORDERED.
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      20     Date: April 17, 2023
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